       Case
       Case 1:19-cv-00225-CM-OTW
            1:19-cv-00225-CM-OTW Document
                                 Document 84
                                          88 Filed
                                             Filed 12/13/19
                                                   12/16/19 Page
                                                            Page 11 of
                                                                    of 22



                                                                    James I. Meyerson
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                                                                    New York, New York 10036
                                                                    (917) 570-5360
                                                                    jimeyerson@gmail.com
                                                                    ATTORNEY AT LAW

December 13, 2019                                         ~,1             ✓        J .             ~yr
The Honorable Colleen McMahon
United States District Judge
Southern District of New York                                                 ch · ,\
500 Pearl Street-Suite # 24A
New York, New York 10007-1312                                           ~tt('
                              fin i-r I"'~"
RE: Jeffrey Rothman vs The City of New York, etc., et al. /19 Civ 0225 (CM) (OTW)
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Your Honor:       Ji i 1~- n nJ LH :.) , 1 t .-· .••: • .:...,.:·'
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   I represent Plaintiff Jeffrey Rothman. I write this letter to/ correct an error in Plaintiff
Rothman's December 12, 2019 dated letter-Motion (Doc. # 83) in which Plaintiff Rothman
seeks leave to file a hard disc with the Clerk of the Court as an Exhibit in support of Plaintiff
Rothman's December 12, 2019 Motion for Partial Summary Judgment (Doc. # 's 77-82).

    At page two (2) of Plaintiff Rothman's December 12, 2019 letter-Motion, I mistakenly
referred to footnote one (1) at pages three (3) of Plaintiff Rothman's Memorandum of Law in
Support of his Motion for Partial Summary Judgment (Doc. # 82).

  The reference should have been to footnote one (1) at pages three-4 ((3-4) of my Affirmation/
Declaration (Doc. # 80) in support of Plaintiff Rothman's Motion for Partial Summary Judgment
which states:
            1
        " Some of the New York City Civilian Complaint Review Board documents filed
       herewith as Exhibit 2 are rendered difficult to read due to the wide diagonal ribbon that
       is superimposed across each printed page that states "ONLY FOR USE IN JEFFREY
       ROTHMAN V. CITY OF NEW YORK, ET AL. 19-CV0225 (CM) (OTW)."
       That ribbon does not appear when the documents are viewed on the computer screen; but
       the security setting that the party Defendants placed upon the PDF provided to Plaintiff
       Rothman's counsel in discovery does not allow pages to be extracted from the full PDF
       file, which could not be electronically filed because it contains Plaintiff Rothman' s
       driver's license and other personal information, which also cannot be redacted due to the
       party Defendants' security setting upon the PDF.
       Plaintiff Rothman also notes that the word "confidential" was placed upon these
       documents by the party Defendants without any basis. There is no confidentiality or
       other order in place in this case that authorized the party Defendants to designate these
       documents as confidential. The Court should direct party Defendants to provide a PDF
       Case
       Case1:19-cv-00225-CM-OTW
            1:19-cv-00225-CM-OTW Document
                                 Document84
                                          88 Filed
                                              Filed12/13/19
                                                    12/16/19 Page
                                                             Page22of
                                                                    of22



        to Plaintiff Rothrnan's counsel that is free of these burdensome security settings, and that
        the parties provide the Court with legible versions of all documents relied upon by the
        parties on the instant motion."

 Thank you for your attention and consideration herein.

Sincerely yours,

James I. Meyerson
JIM
copy by ecf:
Kaitlin Fitzgibbon, Esq.
Brian Francolla, Esq.
Jeffrey Rothman, Esq.




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